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     Pendleton, OR 97801
 7   p. 541-276-3331
 8   f. 541-276-3148
 9   Attorneys for Plaintiff
10
11
12
13                        UNITED STATES DISTRICT COURT
14
15                     DISTRICT OF OREGON, EUGENE DIVISION
16
17   ROCKY J. BRADFORD, in his                    No.:
18
     individual capacity,
19
                                                  COMPLAINT
20
21
                            Plaintiff,
                 vs.
22                                                Jury Trial Demanded
23
24   NATIONAL RAILROAD
25   PASSENGER CORPORATION, d/b/a
26   AMTRAK, a Washington D.C.
27   corporation; UNION PACIFIC
28   RAILROAD COMPANY, a Delaware
29   corporation; UNITED SEATING AND
30   MOBILITY, L.L.C., a Missouri limited
31   liability company d/b/a NUMOTION;
32   PERMOBIL INC., a Tennessee
33
     company; JOHN DOES 1-10, in their
34
     individual and agency capacity and
35
36   XYZ ENTITIES 1-5,
37
38                          Defendant.
39

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 1       COMES NOW, Plaintiff, by and through his attorneys of record and
 2
 3
   respectfully sets forth the following statement of claims.
 4
 5
 6
                           I. JURISDICTION AND VENUE
 7
 8    1. Plaintiff, Rocky Bradford, is a resident of Salem, Marion County,
 9
10       Oregon.
11
12    2. Defendant, Permobil Inc. is a foreign corporation domiciled in
13
14       Tennessee and doing business in Oregon. (“Permobil”)
15
16    3. Permobil is in the business of designing, manufacturing, marketing,
17
18
         selling and leasing electronic wheelchairs, including complex
19
20
21
         wheelchairs intended for use in the public.
22
23    4. Defendant, United Seating and Mobility, LLC, d/b/a Numotion
24
25       (“Numotion”) is a foreign LLC domiciled in Tennessee and doing
26
27       business in Oregon.
28
29    5. Numotion is a national distributor, lessor, and retail sales provider of
30
31       complex rehabilitation technology, including complex power
32
33
         wheelchairs systems and mobility devices that require evaluation,
34
35
36       fitting, configuration, adjustment, training and programming services.
37
38    6. Defendant, National Railroad Passenger Corporation d/b/a Amtrak
39

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 1          (“Amtrak”) is a foreign corporation domiciled in Washington D.C. and
 2
 3
            authorized to conduct business in the state of Oregon.
 4
 5
 6
        7. Amtrak is engaged in the business of a common carrier by railroad in
 7
 8          interstate commerce and conducts regular sustained business in Marion
 9
10          County, Oregon.
11
12      8. Defendant, Union Pacific Railroad Company (“Union Pacific”) is a
13
14          foreign corporation domiciled in Delaware and authorized to conduct
15
16          business in the state of Oregon.
17
18
        9. Defendant, Union Pacific is engaged in the business of a common
19
20
21
            carrier by railroad in interstate commerce and conducts regular
22
23          sustained business in Marion County, Oregon.
24
25      10. Defendant, Union Pacific owns, maintains and controls the operation of
26
27          trains, including Amtrak trains, over crossing number 759652U
28
29          (Crossing 759352U), as identified by the United States Department of
30
31          Transportation, in the city of Salem that serves Silverton Road North
32
33
            East. Union Pacific maintains Crossing 759652U.
34
35
36      11.XYZ Entities 1-5 are corporations similarly situated and structured as
37
38          Numotion and Permobil in that they are in the business of designing,
39

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 1          manufacturing, marketing, selling and leasing electronic wheelchairs,
 2
 3
            including complex wheelchairs intended for use in the public, including
 4
 5
 6
            the wheelchair owned by Plaintiff. Further, XYZ Entities 1-5 are
 7
 8          corporations similarly situated as Union Pacific or Amtrak in that they
 9
10          have a duty to Maintain Crossing 759652U and manage train traffic
11
12          through the city of Salem. Upon discovery of these Entities, Plaintiff
13
14          will amend the complaint accordingly.
15
16      12.John Does 1-10 represent individuals who work for Defendants,
17
18
            including those identified in paragraph 11, and shared those Defendants
19
20
21
            duties as outlined herein in the scope of their employment. Upon
22
23          discovery of these individuals, Plaintiff will amend the complaint
24
25          accordingly.
26
27      13.This Court has original jurisdiction pursuant to 28 U.S.C. § 1332(a)
28
29          because Plaintiff is a citizen of a different state than the Defendants, and
30
31          the amount in controversy exceeds $75,000, exclusive of interest and
32
33
            costs.
34
35
36      14.Venue is proper as the events giving rise to this action took place in the
37
38          city of Salem, Marion County, state of Oregon.
39

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 1                                       II. FACTS
 2
 3
        15. Plaintiff realleges the facts stated herein.
 4
 5
 6
        16. Prior to the accident giving rise to these claims, Plaintiff, Rocky
 7
 8          Bradford, was involved in an accident with a horse. He worked as an
 9
10          exercise boy at the time. The accident injured Rocky leaving him
11
12          paraplegic.
13
14      17.Rocky was thus confined to a wheelchair; however, he was still had
15
16          limited use of his lower extremities.
17
18
        18.Rocky has lived in Salem, Oregon at all material times. Salem is a town
19
20
21
            that has high railroad traffic and multiple railroad crossing. Frequent
22
23          railroad traffic includes both passenger and freight traffic with the
24
25          majority of the rails designed to handle freight traffic.
26
27      19.Due to the multiple rail lines, there are multiple railroad crossings for
28
29          automobiles and pedestrians. This has resulted in multiple accidents to
30
31          the point where the Salem area once held the title as the deadliest place
32
33
            in Oregon for railroad incidents. Joce Dewitt, Train track fatalities down
34
35
36          in recent years, Stateman Journal, Dec. 21, 2013.
37
38      20.From 2013 through 2018, the number of railroad crossing accidents
39

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 1          nearly doubled within Marion County, the County where Salem is
 2
 3
            located. Ben Botkin, Oregon railroad crossing crashes nearly double in
 4
 5
 6
            5 years, reasons unclear, Statesman Journal, Aug. 7, 2019.
 7
 8      21.In August, 2019, Claudia Howells, former head of Oregon’s
 9
10          Transportation Department Rail Division predicted the risk at railroad
11
12          crossings would increase in Salem stating, “[p]articularly in Salem
13
14          proper, as opposed to Marion County as a whole, you’ve got the UP
15
16          (Union Pacific) main line running in a very congestion area with a lot of
17
18
            cars, a lot of pedestrians, so the risk is going to go up.” Id.
19
20
21
        22.According to the Oregon Department of Transportation, 72% of
22
23          accidents between 2008 through 2017 occurred in urban locations with a
24
25          significant number of incidents being concentrated in the Willamette
26
27          Valley, specifically the Salem and Eugene metropolitan areas. These
28
29          are high population areas with a higher-than-average number of public
30
31          at-grade crossings.
32
33
        23.From 2008 through 2017, Marion County had the greatest number of
34
35
36          accidents of all Counties in Oregon. The city of Salem had the highest
37
38          number of accidents of all the cities in the County. In fact, Salem had
39

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 1          the second highest number of accidents of all cities in Oregon behind
 2
 3
            only Portland; the most populated city in Oregon. Oregon Department
 4
 5
 6
            of Transportation, Oregon Highway-Railroad Crossing Safety Action
 7
 8          Plan, (2019)
 9
10      24.In early 2018, Rocky contracted with Numotion to have a motorized
11
12          wheelchair manufactured and customized for his needs. The Numotion
13
14          store Rocky worked with is located at 200 Hawthorne Ave. SE in Salem
15
16          Oregon.
17
18
        25.Numotion, a seller, distributor and supplier of motorized wheelchairs,
19
20
21
            holds itself out as an expert in mobility knowledge with extensive
22
23          industry experience in providing wheelchairs to its customers.
24
25      26.Numotion, with over 150 locations nationwide, helps customers find the
26
27          best wheelchair technology options for individual needs. It also helps
28
29          manage the insurance process for its customers and provides education
30
31          and support services after a customer is provided with a wheelchair.
32
33
        27. Numotion worked with Permobil in acquiring Rocky’s wheelchair.
34
35
36          Permobil is a seller, distributor, supplier and manufacturer of motorized
37
38          wheelchairs. Permobil designed, manufactured, and distributed Rocky’s
39

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 1          wheelchair.
 2
 3
        28.Permobil holds itself out as a company that is passionate about
 4
 5
 6
            providing a better life for people with mobility impairments. Permobil
 7
 8          claims to tailor their products to meet the day-to-day reality of its users.
 9
10      29.On or about June 25, 2018, Rocky received, through Numotion, a
11
12          Permobil manufactured Model M1 motorized wheelchair, serial number
13
14          2523001202.
15
16      30.The Model M1 wheelchair has two front caster wheels that measure 180
17
18
            x 65 mm. This converts to 7 1/16 inches tall and 2 1/2 inches wide.
19
20
21
        31.Rocky used this wheelchair to navigate over pedestrian rail crossings
22
23          which required him to travel over rail flangeways.
24
25      32.A rail flangeway is an opening or a gap, parallel to a rail, made through
26
27          platforms, pavements, or track structures to permit passage of the trains
28
29          wheel flanges.
30
31      33.At pedestrian crossings, flangeways present a risk and hazard to those
32
33
            crossing as they can trip or get caught in the flangeway.
34
35
36      34.As an example, the gaps can cause individuals to trip or can create
37
38          hazards for those using a cane, bicycle or wheelchair because those
39

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 1          items, or parts thereof, can fall into the flangeway and become stuck.
 2
 3
        35. Because of this hazard, the Department of Transportation issued
 4
 5
 6
            Accessibility Standards under the Americans with Disabilities Act
 7
 8          (ADA) which apply to public transportation facilities, including the
 9
10          pedestrian railroad crossing that is subject to this claim.
11
12      36. According to these standards, flangeways on pedestrian crossings must
13
14          be no wider 2 1/2 inches for passenger rail and 3 inches for freight rail.
15
16      37.Crossing 759652U served both freight and passenger rail and as such,
17
18
            the flangeway was 3 inches wide.
19
20
21
        38.Upon Rocky’s receipt of the wheelchair, neither Permobil or Numotion
22
23          warned Rocky that use of his wheelchair over railroad crossing posed a
24
25          danger to him. He was not warned that the dimensions of the front
26
27          castor wheel were such that they could get stuck on the majority of rail
28
29          flangeways in Salem Oregon. He was not warned that, in the event that
30
31          a castor wheel did get stuck, that the wheelchair would not have the
32
33
            power or maneuverability to overcome the flangeway.
34
35
36      39.In fact, nothing in the model M1 motorized wheelchair’s Owner’s or
37
38          User’s Manual provided a warning that the front castor wheels could fall
39

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 1          and become stuck inside a flangeway at a railroad crossing, let alone
 2
 3
            that the wheelchair did not have the power or maneuverability to
 4
 5
 6
            extricate itself once stuck.
 7
 8      40.This, despite Permobil and Numotion having knowledge that
 9
10          wheelchairs could get stuck in flangeways when navigating railroad
11
12          crossings.
13
14      41.This, despite Permobil and Numotion having knowledge of the high rail
15
16          traffic in Salem requiring pedestrians to routinely cross freight rail lines
17
18
            that have a 3-inch gap in the flangeway at crossings.
19
20
21
        42.On November 27, 2019, Rocky was traveling west on the sidewalk of
22
23          Silverton Road in Salem Oregon when he encountered Crossing
24
25          759652U.
26
27      43.He began to cross at a perpendicular angle after ensuring no trains were
28
29          approaching.
30
31      44.As he was crossing, he noticed large rocks, the size of golf balls spread
32
33
            throughout on the crossing. Just before crossing the flangeway, his
34
35
36          front castor wheel suddenly shifted. When his castor wheel shifted, it
37
38          fell into the flangeway and got stuck.
39

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 1      45.Rocky attempted to operate his chair to get out of the flangeway but the
 2
 3
            wheelchair lacked the power and maneuverability to overcome the
 4
 5
 6
            obstacle.
 7
 8      46.Suddenly, Rocky heard a train horn and noticed the crossing warning
 9
10          lights activate and the crossing rail come down. The approaching train
11
12          was an Amtrak passenger train operated by Engineer, Peter Cozzi, who
13
14          was acting in the scope of his employment as an agent of Amtrak.
15
16      47.Rocky attempted to alert the oncoming Amtrak train that he was there
17
18
            by pointing the lights on his wheelchair in the direction of the train.
19
20
21
        48.However, the Amtrak train was traveling at a rate of speed higher than
22
23          that which is permitted in in this particular area of Salem.
24
25      49.Additionally, Amtrak personal were not properly maintaining a lookout
26
27          preventing them from timely being alerted that Rocky was stuck in the
28
29          tracks at the crossing, allowing them to stop before the collision.
30
31      50.Rocky then threw himself to the ground and laid as flat as possible
32
33
            between the flangeway, terrified of the ensuing collision with Amtrak.
34
35
36      51.Amtrak failed to stop the train prior to the accident and collided with
37
38          Rocky’s wheelchair and Rocky.
39

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 1      52. Rocky was dragged under the train suffering catastrophic injuries.
 2
 3
             III. FIRST CLAIM FOR RELIEF: NEGLIGENCE - AMTRAK
 4
 5
 6
        53.Plaintiff realleges paragraphs 1-52 herein.
 7
 8      54.Plaintiff’s injuries were due in whole or in part to the acts and omissions
 9
10          of Amtrak whose negligence includes but is not necessarily limited to
11
12          one or more of the following particulars:
13
14              a. In failing to maintain the crossing so that it would be safe for use
15
16                 by the public, including Plaintiff;
17
18
                b. In operating the train which struck Plaintiff at an excessive speed.
19
20
21
                c. In failing to keep and maintain a proper lookout;
22
23              d. In failing to slow or stop the train prior to the accident; and
24
25              e. In failing to issue a slow order or otherwise instruct its own crews
26
27                 to reduce speeds below the applicable speed limit at the
28
29                 appropriate time.
30
31      55.These failures amounted to a breach by Amtrak of its duties owed to
32
33
            Plaintiff.
34
35
36     IV. SECOND CLAIM FOR RELIEF: NEGLIGENCE – UNION PACIFIC
37
38      56. Plaintiff realleges paragraphs 1-52 herein.
39

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 1      57.Plaintiff’s injuries were due in whole or in part to the acts and omissions
 2
 3
            of Union Pacific whose negligence includes but is not necessarily
 4
 5
 6
            limited to one or more of the following particulars:
 7
 8              a. In failing to construct, update, modify, and maintain the crossing
 9
10                 so that it would be safe for use by the public, including Plaintiff;
11
12              b. In failing to manage Amtrak allowing it to operate its train at an
13
14                 unsafe speed over Crossing 759652U;
15
16              c. In failing to keep Crossing 759652U clear of debris by allowing
17
18
                   rocks to accumulate on the crossing creating a hazard for
19
20
21
                   pedestrians; and
22
23              d. In failing to maintain Crossing 759652U to be safe for use by the
24
25                 public, including Plaintiff.
26
27      58.These failures amounted to a breach by Union Pacific of its duties owed
28
29          to Plaintiff.
30
31     V. THIRD CLAIM FOR RELIEF: PRODUCT LIABILITY - PERMOBIL
32
33
        59. Plaintiff realleges paragraphs 1-52 herein.
34
35
36
37
38
39

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 1      60.Plaintiff’s injuries were due in whole or in part to the acts and omissions
 2
 3
            of Permobil whose negligence includes but is not necessarily limited to
 4
 5
 6
            one or more of the following particulars:
 7
 8              a. In failing to design, inspect, test, and manufacture the Plaintiff’s
 9
10                 wheelchair to be capable of safely navigating over railroad
11
12                 crossings, creating an unreasonably dangerous, defective
13
14                 condition in the wheelchair when it was produced, distributed,
15
16                 and sold. Namely, Permobil failed to account for the fact that the
17
18
                   wheelchair’s castor wheel was able to fall into a flangeway and
19
20
21
                   the wheelchair’s mobility and power was inadequate to free the
22
23                 castor wheel from the flangeway.
24
25              b. In failing to warn Plaintiff of the hazard that the front castor
26
27                 wheels are of the size that can fall and become stuck in
28
29                 flangeways at railroad crossings.
30
31              c. In failing to instruct Plaintiff how to properly use the product in
32
33
                   light of the unreasonably dangerous and defective condition.
34
35
36      61.These failures amounted to a breach by Permobil of its duties owed to
37
38          Plaintiff.
39

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 1   VI. FOURTH CLAIM FOR RELIEF: PRODUCT LIABILITY - NUMOTION
 2
 3
        62.Plaintiff realleges paragraphs 1-52 herein.
 4
 5
 6
        63.Plaintiff’s injuries were due in whole or in part to the acts and omissions
 7
 8          of Numotion whose negligence includes but is not necessarily limited to
 9
10          one or more of the following particulars:
11
12              a. In failing to design, inspect, test, and manufactured, if so
13
14                 manufactured by Numotion, the Plaintiff’s wheelchair to be
15
16                 capable of safely navigating over railroad crossings, creating an
17
18
                   unreasonably dangerous, defective condition in the wheelchair
19
20
21
                   when it was manufactured, sold and/ or leased. Namely,
22
23                 Numotion failed to account for the fact that the wheelchair’s
24
25                 castor wheel was able to fall into a flangeway and the
26
27                 wheelchair’s mobility and power was inadequate to free the castor
28
29                 wheel from the flangeway.
30
31              b. In failing to warn Plaintiff of the hazard that the front castor
32
33
                   wheels are of the size that can fall and become stuck in
34
35
36                 flangeways at railroad crossings, especially given the high rail
37
38                 traffic in the city of Salem, the place Numotion conducts
39

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 1                 business.
 2
 3
                c. In failing to instruct Plaintiff how to properly use the product in
 4
 5
 6
                   light of the unreasonably dangerous defective condition that the
 7
 8                 castor wheels are able to fall into a flangeway and the
 9
10                 wheelchair’s mobility and power is inadequate to free the castor
11
12                 wheel from the flangeway, especially given the high rail traffic in
13
14                 the city of Salem, the place Numotion conducts business.
15
16      64.These failures amounted to a breach by Numotion of its duties owed to
17
18
            Plaintiff.
19
20
21
        65.As a result of the negligence of the Defendants, each of them, Plaintiff
22
23          suffered severe injuries including but not limited to, retroperitoneal
24
25          hematoma, pelvic and spinal fractures, post-traumatic stress disorder,
26
27          mental anguish, and unsalvageable injuries to his legs resulting in
28
29          amputation.
30
31      66.As a further result of the negligence of the Defendants, each of them,
32
33
            Plaintiff has incurred medical charges and expenses in excess of
34
35
36          $523,637.30 and continued to incur charges and expenses as his
37
38          treatment is ongoing and is anticipated to last through the duration of his
39

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 1          lifetime. Plaintiff will amend this complaint to reflect the actual and
 2
 3
            current charges and expenses as well as the estimated future charges and
 4
 5
 6
            expenses once discovered.
 7
 8      67.As a further result of the negligence of the Defendants, each of them,
 9
10          Plaintiff has suffered noneconomic damages in the form of pain and
11
12          suffering in the amount not less than $10,000,000.00.
13
14      68.Plaintiff gives notice to Defendants, each of them, of his intentions to
15
16          amend the complaint to seek punitive damages.
17
18
                                 VII. PRAYER FOR RELIEF
19
20
21
            WHEREFORE, Plaintiff prays for the following relief:
22
23          1. For judgment in favor of Plaintiff against all defendants, individually
24
25              and joint and severally as the law shall so provide, together with an
26
27              award for economic and noneconomic damages that will fully and
28
29              fairly compensate him for his injury claim as set forth herein.
30
31          2. For an award of reasonable attorneys’ fees and costs as permitted by
32
33
                law, including under applicable statutes, regulations, court rules, case
34
35
36              law, and/or recognized grounds in equity.
37
38          3. For such other relief that this court deems just and equitable.
39

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 1 Dated this 12th day of November, 2021.
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 3
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